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          Case 1:16-cv-04375-AKH Document 67 Filed 11/15/19 Page 1 of 1
              Case 1:16rcv-d4375-AKH Document 66 Filed 11/14/19 Page 1 of 1

                           · MI MAN LABUDA LAW GROUP PLLC
                                                     3000 MARCUS AVENUE
                                                           SUITE3W8
                                                    LAKE SUCCESS, NY 11042               So    or...\-trt.A..       t   ( o"'K\.-f."'lt. if

                                                                                         \.-cw. L.7   ~JO   \.\.V       to J t,,~v"'- "'j ]1
                                                TELEPHONE (516) 328-8899
                                                FACSIMILE (516) 328-0082                 )-DJ--O, ..,-\-   \ l) :

                                                      November 14, 2019




    Southern District of ew '' ork
    500 Pearl Street, Roa 1050
    New York, NY 1000 -13 '2
    (212) 805-7942 - on (1), age, including this page

           Re:     Perez et a v. Super Gourmet Food Corp., et al.
                   Civil ase No.: 1:16-cv-4375 (AKH) (AJP)
                   MLL Fil No.: 105-2018

    Dear Judge Hellerste n: , ·
                                  '
           This firm re rese'           ts Defendants Super Gourmet Food Corp., Philip Ventura, nthony
    Morabito and Kevi Fa                 aher (collectively, "Defendants") in the above-referenced matter.
    Defendants write to resp            ctfully request an adjournment of forty-five (45) days of th status
    conference currently sch~           uled for Friday, November 22, 2019 at 10:00 AM.
                                  '
            The reason or t~e request is that Plaintiffs have propounded extensive req sts for
    documents and info ation concerning the allegations in this matter, as well as Defi ndants'
    financial status. De endatts need time to gather the responsive documents and inform tion for
    Plaintiffs' review.                     ·
                                  ''
                                  ,.'

           Pursuant tot is C,qurt's Individual Rules (hereinafter "Rules") ,r l(D): (i) the orig· al date
    of the conference w s; N❖vember 22, 2019; (ii-iii) there has been no previous request for an
    adjournment of this onference; (iv) Plaintiffs consent to the requested extension of time and (v)
                                 or
 ~·"Defendants are una ai:e ~ny other scheduled dates .
                                      1
                   .ffl:l.tht>H"'r-rrrn'7ffitits" time   and attention to this matter.

                                                               Respectfully submitted,
   USD'CSDNY
   DOCUMENT                                                    MILMAN LABUDA LAW GROUP PLL
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                                                               Isl Netanel Newberger, Esq.
\ 1 noc #:: _ _____.-:-~i"""7.--
                                                               Netanel Newberger, Esq.
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                            recojd - via ECF
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